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                                          #:382



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 7   Victor Zamora
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 9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
     VICTOR ZAMORA,                                     Case No.: 2:21-cv-05622-DSF-MAR
12

13                      Plaintiff,                      STIPULATION OF
                                                        VOLUNTARY DISMISSAL OF
14                                                      DEFENDANT EXPERIAN
                     vs.                                INFORMATION SOLUTIONS,
15                                                      INC. ONLY WITH PREJUDICE
     VERIZON WIRELESS SERVICES,                         UNDER FED. R. CIV. P. 41(a)(1)(A)
16                                                      (ii)
     LLC and DOES 1-10, inclusive,
17
                     Defendants.
18

19         The parties, by and through counsel, stipulate to dismissal with prejudice of the
20   above-captioned action as to Defendants Experian Information Solutions, Inc. only.
21   The parties bear their own fees and costs.
22         IT IS SO STIPULATED.
23

24                                             LOS ANGELES LEGAL SOLUTIONS
25   Dated: February 28, 2022                           By:_s/F. Jay Rahimi_____
26                                                         F. Jay Rahimi, Esq.
                                                          Attorney for Plaintiff,
27                                                        Christopher Brown
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                                                   1
                                STIPULATION OF DISMISSAL WITH PREJUDICE
Case 2:21-cv-05622-DSF-MAR         Document 52       Filed 03/08/22   Page 2 of 3 Page ID
                                        #:383



 1                                               JONES DAY
 2   Dated: February 28, 2022                         By:_s/Katherine Neben_____
 3
                                                         Katherine Neben, Esq.
                                                        Attorney for Defendant,
 4                                                      Experian Information Solutions, Inc.
 5
 6
 7
           The filer of this document, F. Jay Rahimi, attests that all other signatories
 8
     listed, and on whose behalf the filing is submitted, concur in this filing’s content and
 9
     have authorized its filing.
10
                                               /s/ F. Jay Rahimi
11                                             F. Jay Rahimi
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                             STIPULATION OF DISMISSAL WITH PREJUDICE
Case 2:21-cv-05622-DSF-MAR        Document 52        Filed 03/08/22   Page 3 of 3 Page ID
                                       #:384



 1                              CERTIFICATE OF SERVICE
 2         I certify that on March 8, 2022, a copy of the foregoing was filed and served
 3   electronically in the ECF system. Notice of this filing will be sent to the parties of
 4   record by operation of the Court’s electronic filing system. Parties may access this
 5   filing through the Court’s system.
 6
     DATED: March 8, 2022
 7                                             /s/ F. Jay Rahimi
                                               F. Jay Rahimi
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                             STIPULATION OF DISMISSAL WITH PREJUDICE
